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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

LEATHERBACK LIMITED, ee
Plaintiff, te
v: * CIVIL NO, JKB-23-2614
LOLU ADUBIFA, *
Defendant. *
* kU * * * * * * * s *

MEMORANDUM AND ORDER

Pending before the Court is Plaintiff Leatherback Limited’s Motion for Temporary
Restraining Order and Preliminary and Permanent Relief.! (ECF No. 1.) Plaintiff will be directed
to show cause why that Motion should not be denied.

Plaintiff explains that this Court has jurisdiction over the matter because there is complete
diversity of citizenship between the parties and the amount in controversy exceeds $75,000. (ECF
No. 2 9 4.) However, Plaintiff makes no allegations whatsoever regarding this Court’s personal
jurisdiction over the Defendant. Defendant is a managing director of a company in Nigeria with
an address in Nigeria and Plaintiff does not describe any contacts between Defendant or his
company and the State of Maryland. (See generally id.) The Court will therefore not schedule
any hearing or otherwise take action with respect to the Motion before it receives additional

briefing with respect to its personal jurisdiction over Defendant. See dmarcian, Inc. v. dmarcian

! Plaintiff styled the Motion as a Complaint for Temporary Restraining Order and Preliminary and Permanent
Injunctive Relief, despite filing an accompanying Memorandum in Support of Motion for Temporary Restraining
Order and despite having also filed a Complaint (ECF No. 2). The Clerk will be directed to docket ECF No. 1 as a
Motion. °
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Eur. BV, Civ. No. 21-00067-MR, 2021 WL 1225876, at *1 (W.D.N.C. Mar. 31, 2021) (“A court
cannot issue a temporary restraining order absent personal jurisdiction over all parties.”).
Accordingly, it is ORDERED that:
1. Plaintiff is DIRECTED TO SHOW CAUSE why the Motion (ECF No. 1) should not
be denied for lack of personal jurisdiction, on or before October 3, 2023; and
2. The Clerk SHALL REVISE the docket entry for the “Complaint for a Temporary

Restraining Order” (ECF No. 1) to state “Motion for a Temporary Restraining Order.”

DATED thisLO day of September, 2023.

BY THE COURT:

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James K. Bredar
Chief Judge

